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                   UNITED STATES DISTRICT COURT

                  SOUTHERN DISTRICT OF GEORGIA

                             SAVANNAH DIVISION

JIMMY LEE EVERETT,

        Movant,

V.                                             Case No. CV411-150
                                                         CR408-063
                                                         CR607-03 1
UNITED STATES OF AMERICA,

        Respondent.

                    REPORT AND RECOMMENDATION

        Jimmy Lee Everett was sentenced by this Court to serve 110

months' imprisonment for (1) trafficking in vehicles with altered

identification numbers and (2) bank fraud related to his embezzlement

of funds from his employer. (Doc. 17 at 3.) After an unsuccessful

appeal of his sentence, United States v. Everett, 368 F. App'x 952 (11th

Cir. 2010), he filed a 28 U.S.C. § 2255 motion raising four grounds for

relief. (Doe. 1. 1) Upon initial review, the Court found that all but the

fourth ground -- asserting ineffective assistance of counsel at sentencing

        1 Unless otherwise noted, citations are to the docket in Everett's civil case,

CV411-150. Additionally, page references are to the CM/ECF screen page rather
than the referenced document's own internal pagination.
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-- were meritless. 2 (Doe. 17; see also doe. 13 (ordering further briefing

on the fourth ground).) Because there was a factual dispute as to that

claim, the Court set the matter down for an evidentiary hearing and

appointed counsel to represent Everett at that hearing. (Doc. 41.)

I. BACKGROUND

      As the Court explained in its prior order,

       Everett was named in three federal indictments in 2007 and
   2008. First, he was charged in December 2007 as one of 23
   defendants who conspired to steal vehicles, change their
   identification numbers, and then sell them for a profit. United
   States v. Patterson, No. CR607-031, doe. 1. Specifically, he was
   indicted for conspiracy, trafficking in vehicles with altered
   identification numbers, trafficking in stolen vehicles, and
   possession of counterfeit vehicle titles. Id., doe. 1; (Presentence
   Investigation Report ("PSI") ¶J 1-7). Then, in April 2008, Everett
   was charged with 34 counts of bank fraud and one count of
   making a false statement to a federally insured institution.
   United States v. Everett ("Everett I"), No. CR408-063, doe. 1. That
   indictment related to his embezzlement of more than $200,000
   from his business, Thompson Pavement Markings, Inc. ("TPM"). 3
   Id.; (PSI ¶11 8, 93-97). In a superseding indictment in that case he

      2 Everett's first three grounds should be denied for the reasons explained in

the prior order. (Doe. 17.)
      3  Everett, who is African-American, headed TPM as its nominal owner in
order to better compete for state contracts. Colleen and Vince Thompson
contributed most of their personal wealth to create the company. Colleen was an
officer, but Vince was forced to step aside as officer, as his presence disqualified
them from obtaining an advantage in state contracting as a minority-owned
business.


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   was also charged with aggravated identify theft. Everett, No.
   CR408-063, doc. 15. Finally, in May 2008, Everett was indicted
   for obstruction of justice for his attempt to concoct a story
   exculpating him and the other Patterson defendants from their
   misdeeds. United States v. Everett ("Everett II"), No. CR608-007,
   doc. 3; (PSI ¶ 9).

      Everett pled guilty to count six of the stolen vehicle indictment,
   Patterson, No. CR607-031, doc. 1, charging him with trafficking
   vehicles with altered identification numbers. Id., doc. 448. He
   also pled guilty to one count of embezzlement in Everett I, No.
   CR408-63, doe. 21, and in return, the obstruction indictment,
   Everett II, No. CR608-007, was dismissed.

(Doe. 17 at 2-3 (footnotes added and omitted).)

      The probation officer assigned to the case recommended in a

consolidated Presentence Investigation Report ("PSI") that Everett

receive a two-point offense level enhancement in the bank fraud/

embezzlement portion of the case pursuant to United States Sentencing

Guidelines ("USSG") § 2B1.1(b)(10)(C)(i), 4 since he "forged the name of

Colleen Thompson to open [a] fraudulent checking account with Sea

Island Bank" for the purpose of embezzling TPM funds. (PSI ¶ 121.)

      4  This section creates an offense level enhancement when a fraud or
embezzlement offense involved "the unauthorized transfer or use of any means of
identification unlawfully to produce or obtain any other means of identification."
USSG § 2b1.1(B)(b)(10)(C)(i). The commentary to the rule makes clear that merely
forging a signature is not considered "producing another means of identification."
USSG § 2B1.1 commentary.


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Everett, however, steadfastly insisted that he had not forged

Thompson's name on the signature card.                      At sentencing, the

government admitted that the signature was not a forgery, but the

parties agreed that Everett had improperly obtained the signature card

and used it in an inappropriate manner, without Mrs. Thompson's

consent. (Cr. doc. 43 at 4-5 (sent'g tr.).) The PSI had denied Everett a

two-point downward adjustment based on his insistence that the

signature was not a forgery. (PSI ¶ 133.) After the government

admitted that the signature was not, in fact, forged, the effect was to

allow Everett to obtain that adjustment. (Cr. doe. 43 at 5.)

      Everett was assigned a total offense level of 30 for the vehicle

offenses, and 23 for the embezzlement offense. (PSI ¶J 117, 125.) The

PSI recommended that the cases be "grouped" for a concurrent sentence

under USSG § 3D1.4. 5 Since the two crimes were within 8 points of


         USSG § 3D1.4 provides: "Determining the Combined Offense Level. The
combined offense level is determined by taking the offense level applicable to the
Group with the highest offense level and increasing that offense level by the amount
indicated in the following table:

      Number of Units Increase in Offense Level

       1               none
       11/2            add 1 level
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each other but more than 4 points apart, the embezzling offense equaled

"1/2" of a group. Hence, the PSI added one additional point to the

automobile offense, resulting in a total effective offense level of 31. (PSI

¶ 136); USSG § 3D1.4. Subtracting two points for acceptance of

responsibility, the offense level dropped to 29. (Cr. doc. 43 at 5.) With

Everett's category III criminal history, the recommended sentencing

range was 108 to 135 months imprisonment.                (Id.); USSG Sentencing

Table. "In a consolidated judgment, the sentencing judge imposed 108

months of imprisonment on the vehicle trafficking count and 110

months on the bank fraud count, both to be served concurrently.

       2               add 2 levels
       21/2-3          add 3 levels
       31/2-5          add 4 levels
       More than 5     add 5 levels.

In determining the number of Units for purposes of this section:

       (a) Count as one Unit the Group with the highest offense level. Count one
additional Unit for each Group that is equally serious or from 1 to 4 levels less
serious.

      (b) Count as one-half Unit any Group that is 5 to 8 levels less serious than
the Group with the highest offense level.

       (c) Disregard any Group that is 9 or more levels less serious than the Group
with the highest offense level. Such Groups will not increase the applicable offense
level but may provide a reason for sentencing at the higher end of the sentencing
range for the applicable offense level."


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Patterson, No. CR607-031, doc. 682; Everett I, No. CR408-063, doe. 33."

(Doe. 17 at 3.)

II. ANALYSIS

      The sole remaining issue is whether Everett's counsel was

ineffective in failing to object to the USSG § 2B1.1(b)(10)(C)(i) two-point

enhancement. That section provides for an enhanced sentence where a

fraud or embezzlement offense "involved. . . the unauthorized transfer

or use of any means of identification unlawfully to produce or obtain

any other means of identification . . . ." Id. It has been referred to as

the "identity theft enhancement."      United States v. Rosso, 2012 WL

4839132 at * 1 (11th Cir. Oct. 10, 2012).

     His claim rests on two arguments. First, he asserts that Classens

should have contested the government's factual recitation at sentencing,

since Colleen Thompson willingly signed the signature card allowing

him to open the account. Second, he claims that Classens should have

realized that the enhancement only applies to individual, not corporate,

victims.
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           Everett has failed to carry his burden as to the factual recitation

    for several reasons. 6 First, while he now insists that he did not defraud

    or dupe Thompson into affixing her signature on the card under false

    pretenses, he never contested the application of the enhancement at

    sentencing.     (See Cr. doe. 43 (sent'g tr.)); cf. Blackledge v. Allison, 431


          6 On ineffective assistance of counsel claims the Court applies  Strickland v.
    Washington, 466 U.S. 668, 687 (1984), which created a two-part test for determining
    whether counsel performed ineffectively. First, the movant must demonstrate that
    his attorney's performance was deficient, which requires a showing that "counsel
    made errors so serious that counsel was not functioning as the 'counsel' guaranteed
    by the Sixth Amendment." 484 U.S. at 687. Second, the defective performance
    must have prejudiced the defense to such a degree that the results of the trial
    cannot be trusted. Id.

           Under the performance prong, the reasonableness of an attorney's
    performance is to be evaluated from counsel's perspective at the time of the alleged
    error and in light of all the circumstances. Id. at 690. It is generally appropriate to
    look to counsel's performance throughout the case in making such a determination.
    Kim,nelman v. Morrison, 477 U.S. 365, 386 (1986). The movant carries a heavy
    burden, as "reviewing courts must indulge a strong presumption that counsel's
    conduct falls within the wide range of professional assistance; that is, the defendant
    must overcome the presumption that, under the circumstances, the challenged
    action might be considered sound trial strategy." Id. at 689. Indeed, Everett must
    show that "no competent counsel would have taken the action that his counsel did
    take." Ford v. Hall, 546 F.3d 1326, 1333 (11th Cir. 2008), quoting Chandler v.
    United States, 218 F.3d 1305, 1315 (11th Cir. 2000) (en banc).

           For the prejudice prong Everett must show that there was a reasonable
    probability that the results would have been different but for counsel's deficient
    performance. Kimmelman, 477 U.S. at 375; Strickland, 466 U.S. at 696. "A
    reasonable probability is a probability sufficient to undermine confidence in the
    outcome." Strickland, 466 U.S. at 694; see also Lightbourne v. Dugger, 829 F.2d
    1012, 1022 (11th Cir. 1987); Boykins v. Wainwright, 737 F.2d 1539, 1542 (11th Cir.
    1983).


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U.S. 63, 74 (1977) (representations of defendant at a hearing carry a

strong presumption of verity, and subsequent presentation of conclusory

allegations to the contrary are subject to summary dismissal).

Moreover, the evidence against his version of the events is so

overwhelming as to render his testimony utterly unbelievable. While

Colleen Thompson, who would have been a key witness, was under

treatment for a brain tumor and was unable to testify at the hearing,

the government presented convincing testimony from Classens, Vince

Thompson (Colleen Thompson's husband), Sue Strickland, and Deven

Cuthbert -- testimony that persuades the Court that there is no truth to

Everett's latest story.

     According to Everett, TPM needed a loan in order to purchase

additional equipment for a job. Because the company had gone over the

limits of a line of credit held by BB&T, he insisted that he acted with

the knowledge and consent of the other company officers in approaching

Sea Island Bank for additional funding. Everett insisted that the

company already had a prior one-year loan with the bank that had been

renewed on several occasions to prevent a default. While TPM had


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missed interest payments and had not made any principal payments at

all, Everett sought to have the Sea Island loan officer that he had

worked with in the past approve some sort of restructuring. After a

change in loan officers, however, Sea Island refused to allow TPM to roll

the debt over again, and it declined to extend additional credit to the

company. In order to appease the new loan officer, Everett claimed that

he was required to open a checking account and do a title exchange on

some equipment already in TPM's possession. Everett needed a

signature card, corporate resolution, and corporate account agreement

to open that account. He stated that he brought the forms to Mrs.

Thompson and she signed them while her mother and daughter-in-law

were present. According to Everett, he did not establish the account to

trick anyone; it was simply the only way the company could restructure

its debt and acquire the necessary equipment. He readily admitted,

however, that he pilfered funds from that account.

     Sue Strickland, a branch manager who had worked with the

Thompsons for years at BB&T and then Sea Island Bank, furnished

contrary testimony that completely undermined Everett's story. She
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explained that TPM was never substantially in default on any Sea

Island loan. 7 Additionally, she noted that not only was there no bank

policy requiring the opening of an account to obtain funding, it is illegal

to condition a loan upon the opening of a bank account.                  (See ex. 3

(deposit account agreement opening a bank account in 2007 with Sea

Island); ex. 4 (loan payoff table, showing that the Thompsons actually

paid the loan off early).)

      Further undermining Everett's account, the government offered

testimony from Devon Cuthbert, who shared a cell with Everett while

he awaited the § 2255 hearing. Cuthbert, detained on a gun charge,

testified that Everett told him that he gave Mrs. Thompson a stack of

paperwork knowing she would not read every paper. He had

intentionally obfuscated the paperwork in order to open the checking


         Vince Thompson, Colleen's husband, explained that TPM had primarily
worked with First National of Effingham and then BB&T, not Sea Island. The only
loan they took out with Sea Island was in 2004 for the purchase of some equipment
from one of their competitors. (See ex. 1 (Sea Island loan).) The loan was to run for
60 months; it was not a one-year renewable. (Id.) There was a renewable loan (ex.
2), but that was with Darby Bank & Trust, not Sea Island. Moreover, the only Sea
Island loan was taken out in the Port Wentworth office in 2004, while the checking
account was opened in Statesboro in 2007. When Everett was arrested the
Thompsons were stunned to discover that Everett had opened a corporate checking
account at his address in Statesboro and that his girlfriend utilized that account.


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account without TPM's authorization. According to Cuthbert, Everett

was extremely optimistic about his § 2255 prospects. In fact, he exulted

in Mrs. Thompson's illness by exclaiming that the "bitch got a brain

tumor!", reflecting his belief that he was sure to prevail given her

inability to testify. 8 Everett did not endeavor to contradict any of

Cuthbert's testimony.

      Considering all of the testimony, the Court finds Everett's version

of the events to be unworthy of belief. Everett is an inveterate fraudster,

as reflected by his prior convictions for forgery and passing bad checks

(PSI 711 138-142)) and by his attempt in this case to persuade his co-

conspirators to concoct a false story regarding their vehicle theft scheme

in order to mislead the authorities.        Everett II, No. CR608-007, doe. 3;

(PSI IJ 9). Classens, then, did not render deficient performance by failing

to object to the government's factual recitation at sentencing.

      Everett's second contention, that Classens rendered deficient

performance by failing to challenge the USSG § 2131.1(b)(10)(C)(i)


      8 Cuthbert and another detainee, Cecil Nelson, wrote a letter to the United
States Attorney assigned to the case, prompting him to meet with Cuthbert about
this matter.


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enhancement on the basis that it applies only to individual as opposed

to corporate victims, likewise fails. (Doc. 2 at 28-29; doe. 44 (brief

following hearing).) The relevant comments note that the "means of

identification" improperly employed must belong to an "actual (i.e., not

fictitious) individual." USSG § 2B1.1, comment 9(A). The comment

can be read in multiple ways. Under one interpretation, it means that

the enhancement applies only to living and breathing individuals, not

corporations or other associations. Under a different reading, it simply

means that the enhancement does not apply where the perpetrator

created a new identity out of whole cloth. As the Ninth Circuit notes,

the enhancement "is rather awkwardly written,"          United States v.

Melendrez, 389 F.3d 829, 832 (9th Cir. 2004), and research reveals that

courts across the land have struggled with its application.

     Everett points to some authority which seems to support his

position. See United States v. Hilton, 701 F. 3d 959, 966 (4th Cir. 2012)

(Congress's intention in drafting the provision is unclear, hence the rule

of lenity applies and the provision cannot be applied to the theft of

corporate identities); Alfano v. United States, 592 F. Supp. 2d 149, 156-


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60 (D. Me. 2008) (same; "person," which includes corporations, is

distinct in the guidelines from "individual," which does not;

additionally, related statutory provisions define "individuals" as

separate from "organizations"). But these cases appear to be

distinguishable on their facts. If the first "means of identification" here

was Mrs. Thompson's fraudulently obtained signature 9 and the second

was the checking account, then there appear to be two victims, one

individual and one corporate. In neither Hilton nor Alfano did the

defendants ever obtain a form of identification from any specific

individual. The defendants in Hilton used a fake corporate stamp

bearing no individual signature to endorse stolen checks that they later

deposited. 701 F.3d at 962 (defendants used a stamp that stated: "Pay

to the order of Suntrust Bank 053100465. For deposit only Woodsmiths

[Furniture Company]          1000036388063.").         Similarly, the      Alfano

defendant created fake checks from Atlantic Coast Contractors using a

Toys 'R' Us account number. This case is more akin to United States v.

        In a prosecution for identity theft under 18 U.S.C. § 1028(d)(7), the
Eleventh Circuit has held that a defendant's use of another person's signature on
forged checks qualified as the "use of a means of identification." United States v.
Shanks, 452 F. App'x 922, 923-24 (11th Cir. 2012).

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Oates, 427 F.3d 1086 (8th Cir. 2005), where the defendant used a

person's social security number to create a credit card in the name of a

fictitious business.    Id. at 1089. The defendant argued that the

enhancement should not apply because that means of identification was

not used to create another means of identification that related to "an

actual (i.e., not fictitious) individual." Id. at 1089-90. The panel rejected

the argument, noting that the creation of the credit card account still

harmed the credit of the person whose social security number was

misappropriated. Id. at 1090. Similarly, the creation of the account in

this case permitted Everett to steal large sums of money from the

corporation that Thompson co-owned, and it inevitably harmed her

credit, as the Thompsons were personally liable on much of the

company's debt. (See ex. 1 at 2 ("PERSONAL GUARANTIES-VINCENT

THOMPSON, JULIA THOMPSON, & JIMMY L EVERETT.").) Indeed,

Vince Thompson testified that the Thompsons were financially ruined as

a result of Everett's fraud.

      Regardless, there is no clear answer in this circuit as to whether

the enhancement should apply to corporate victims, and it is unclear how


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the enhancement would apply on these facts in those courts that have

otherwise rejected corporate victims. Consequently, this Court cannot

fault Classens for failing to pursue the matter.      See Black v. United

States, 373 F.3d 1140, 1144 (11th Cir. 2004) ("If the legal principle at

issue is unsettled counsel will not have rendered deficient performance

for an error of judgment."); Smith v. Singletary, 170 F.3d 1051, 1054

(11th Cir. 1999) ("the rule that an attorney is not liable for an error in

judgment on an unsettled proposition of law is universally recognized.")

(quoting 2 RoNALD E. MALLEN & JEFFREY M. SMITH, LEGAL MALPRACTICE

§ 17.4, at 502 (4th ed. 1996)).

      Finally, as to both portions of Everett's claim, Classens had a valid

reason for choosing not to dispute the matter. He explained at the

hearing that it was his sentencing strategy to allow the enhancement,

even if he personally disagreed with its application, because he needed

the cases to fall within 8 offense-level points of each other under the

guidelines' grouping rules in order to have a compelling reason to argue

against the imposition of consecutive sentences. As noted above, Everett

benefited from that strategy, since he actually received concurrent


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    sentences. Moreover, Everett would be hard pressed to show any

    resulting prejudice. Even if Everett avoided the enhancement, he would

    obtain only a one-point reduction under the grouping rule, USSG §

    3D1.4, since the two groups would have varied by more than 8 points. 10

    See USSG § 3D1.4(c) ("Disregard any Group that is 9 or more levels less

    serious than the group with the highest offense level."). The sentencing

    judge might take exception to imposing a sentence that "disregards" the

    embezzlement charges. And, should he be resentenced, the sentencing

    judge would be free to impose consecutive sentences. In other words,

    even if Everett won a resentencing, he is by no means guaranteed a

    lower sentence, much less the same sentence. In fact, resentencing

    might result in consecutive sentences, as Classens feared.         See United

    States v. Stinson, 97 F.3d 466 (11th Cir. 1996) (once an original sentence

    is vacated in toto, the sentencing judge is free to reconstruct the sentence

    using any of the sentencing components at his disposal (current

    conviction, prior offenses, cooperation, etc.)).

          10  The vehicle offenses had an adjusted offense level of 30 and the
    embezzlement adjusted offense level was 23. (PSI ¶J 127-28.) Had the
    embezzlement offense been dropped to 21, then the offenses would be more than 8
    points apart.

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III. CONCLUSION

     For the foregoing reasons, along with those expressed in its earlier

order setting this matter down for a hearing (doe. 17), Everett's § 2255

motion should be DENIED. Applying the Certificate of Appealability

("COW') standards, which are set forth in Brown v. United States, 2009

WL 307872 at * 1-2 (S.D. Ga. Feb. 9, 2009) (unpublished), the Court

discerns no COA-worthy issues at this stage of the litigation, so no COA

should issue. 28 U.S.C. § 2253(c)(1); see Alexander v. Johnson, 211 F.3d

895, 898 (5th Cir. 2000) (approving sua sponte denial of COA before

movant filed a notice of appeal). And since there are no non-frivolous

issues to raise on appeal, an appeal would not be taken in good faith.

Thus, in forma pauperis status on appeal should likewise be DENIED.

28 U.S.C. § 1915(a)(3).

     SO REPORTED AND RECOMMENDED this                      16      day of

February, 2013.


                                        UNITED          GISTRATE JUDGE
                                        SOUTHERN DISTRICT OF GEORGIA




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